                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT WINCHESTER

 UNITED STATES OF AMERICA,                      )
                                                )
 v.                                             )    No. 4:09-cr-05-HSM-SKL-09
                                                )
 BRIAN STEPHENS                                 )

                               MEMORANDUM AND ORDER

        BRIAN STEPHENS (“Defendant”) appeared for a hearing on September 23, 2016, in
 accordance with Rule 32.1 of the Federal Rules of Criminal Procedure on the Petition for a
 Warrant or Summons for an Offender Under Supervision (“Petition”).

        Defendant was placed under oath and informed of his constitutional rights. It was
 determined that Defendant wished to be represented by an attorney and he qualified for
 appointed counsel. Federal Defender Services of Eastern Tennessee was appointed to represent
 Defendant. It was also determined that Defendant had been provided with and reviewed with
 counsel a copy of the Petition.

         The Government moved that Defendant be detained without bail pending his revocation
 hearing before U.S. District Judge Mattice. Defendant waived his right to a preliminary hearing,
 but asked for a detention hearing and time to prepare for same. The detention hearing is set to
 take place on September 27, 2016 at 2:00 p.m. before the undersigned.

         Based upon the Petition and waiver of preliminary hearing, the Court finds there is
 probable cause to believe Defendant has committed violations of his condition of supervised
 release as alleged in the Petition.

        Accordingly, it is ORDERED that:

        (1) Defendant shall appear for a revocation hearing before U.S. District Judge Mattice.

        (2) The Government’s motion to temporarily detain Defendant is GRANTED and
        Defendant shall be DETAINED WITHOUT BAIL pending his detention hearing set
        September 27, 2016 at 2:00 p.m. before the undersigned. Defendant shall be held in the
        custody by the United States Marshal and produced for the detention hearing.

        (3) A revocation hearing is set before District Judge Mattice on October 17, 2016 at
        9:00 a.m.

        SO ORDERED.

        ENTER.
                                             s/fâátÇ ^A _xx
                                             SUSAN K. LEE
                                             UNITED STATES MAGISTRATE JUDGE

Case 4:09-cr-00005-TRM-SKL          Document 348 Filed 09/26/16            Page 1 of 1     PageID
                                          #: 1019
